The defendant, Claude Smith, was convicted of burglary in the first degree, in the superior court of Maricopa county, and sentenced to not less than five nor more than fifteen years in the penitentiary. He has appealed.
The record was filed here January 25th, and the transcript of the evidence February 26, 1936. Defendant has made no appearance, beyond filing the appeal papers, and because of his failure to do so the Attorney General, on May 1st, moved to have the case submitted on the record, which motion was granted.
It would seem more attention should be given an appeal where, as here, the record, including a transcript *Page 10 
of the evidence (of 338 pages), is furnished at the expense of the county.
We have examined into the different papers on file, including the evidence, and find that defendant was accorded a fair and impartial trial.
The judgment is therefore affirmed.